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 6   Donald Siao

 7
                                     UNITED STATES DISTRICT COURT
 8
                                  NORTHERN DISTRICT OF CALIFORNIA
 9                                             SAN JOSE DIVISION
10
     UNITED STATES OF AMERICA,                                 Case No.: 5:21-cr-00267-BLF
11
            Plaintiff,
12                                                             DEFENDANT’S UNOPPOSED
            vs.                                                APPLICATION FOR POST-TRIAL
13                                                             BRIEFING SCHEDULE
     DONALD SIAO,
14
            Defendant.
15

16
            This is an unopposed application to set a briefing schedule for post-trial motions under
17
     Federal Rule of Criminal Procedure 29 and 33. Undersigned counsel conferred with AUSAs
18
     Amani Floyd and Dan Karmel and they do not oppose the following schedule:
19
                  August 11, 2023             Deadline for defense post-trial motions.
20
                  September 8, 2023           Deadline for government’s response.
21

22          This schedule should allow both parties to prepare any motions and responses, and will
23   complete briefing about two months before sentencing so the Court can set a hearing on the
24   motions, if necessary.
25



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 1           Additional time is required because Defendant Siao’s current counsel were not involved

 2   in the case before or during trial and need time to familiarize themselves with the case.

 3   Counsel must, for instance, review trial transcripts and exhibits, review the pre-trial litigation,

 4   conduct legal research, confer with Mr. Siao and his former counsel, and draft any post-trial

 5   motions. The Speedy Trial Act is inapplicable to this request.

 6   Date: July 5, 2023                               Respectfully submitted,

 7                                                    NOLAN BARTON OLMOS & LUCIANO, LLP

 8                                                    /s/ Daniel B. Olmos
                                                      DANIEL B. OLMOS
 9                                                    Attorneys for Defendant Donald Siao
10

11
     Date: July 5, 2023                               /s/ Amani Floyd
12                                                    AMANI FLOYD
                                                      Assistant United States Attorney
13

14

15                                         [PROPOSED] ORDER

16           Based on the foregoing application, and for good cause shown, the Court grants this

17   application. Defendant’s post-trial motions are due on August 11, 2023, and the Government’s

18   response is due on September 8, 2023. A motions hearing, if necessary, will be set at a later

19   time.

20
     Date: ________________                           ______________________________
21                                                    BETH LABSON FREEMAN
                                                      United States District Judge
22

23

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